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                          Exhibit 40

  Plaintiff SPARTA Insurance Company's
  Supplemental Responses and Objections
  to PGIC's Interrogatories Nos. 5 and 6,
             dated May 12, 2023
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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

---------------------------------x
-
SPARTA    INSURANCE COMPANY                   :
(as successor in interest to Sparta Insurance
Holdings, Inc.),                              :

                      Plaintiff,                :     Civil Action
                                                      No. 21-11205-FDS
       v.                                       :
                                                      CONTAINS CONFIDENTIAL
PENNSYLVANIA GENERAL INSURANCE :                      INFORMATION
COMPANY (now known as Pennsylvania
Insurance Company),                :

               Defendant.        :
---------------------------------X
-
       PLAINTIFF SPARTA INSURANCE COMPANY’S SUPPLEMENTAL
       RESPONSES AND OBJECTIONS TO DEFENDANT PENNSYLVANIA
    GENERAL INSURANCE COMPANY’S INTERROGATORIES NOS. 5 AND 6

                Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, and Rules
26.1, 26.3, and 33.1 of the Local Rules of the United States District Court for the District of
Massachusetts (“Local Rules”), Plaintiff SPARTA Insurance Company (“SPARTA”), by and
through its undersigned attorneys, hereby supplements its responses and objections to
Interrogatories Nos. 5 and 6 of Defendant Pennsylvania General Insurance Company’s
(“PGIC’s”) First Set of Interrogatories (which, together with the Definitions and Instructions
therein, are hereinafter referred to as the “Interrogatories”) as follows:

                        SPECIFIC RESPONSES AND OBJECTIONS

                Each of the General Responses and Objections set forth in the next section are
incorporated by reference into each and every Specific Response set forth below. Although
Specific Objections are also interposed in response to individual Interrogatories, SPARTA’s
failure to repeat any part of its General Objections shall not be construed as a waiver of those
objections. Subject to the General Responses and Objections, and without waiver, modification,
or limitation thereof, SPARTA’s Specific Responses and Objections to the Interrogatories are
set forth below.

INTERROGATORY NO. 5

              Identify the circumstances in which You became aware of the Transfer and
Assumption Agreement between OneBeacon Insurance Company and PGIC dated on or around
October 1, 2012, including the date on which You first became aware of that agreement and from
what source You became aware of that agreement.
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RESPONSE TO INTERROGATORY NO. 5

                See General Responses and Objections, Objections to Definitions, and Objections
to Instructions infra. SPARTA further objects to this Interrogatory to the extent that it purports
to seek the production of information that is subject to the attorney-client privilege, the work
product privilege, or any other applicable privilege, or is otherwise immune from discovery
under the Federal Rules of Civil Procedure and/or the Local Rules.

               Subject to the foregoing objections and without waiving them, SPARTA states the
following:

               On May 5, 2021, Stephen Eisenmann spoke with Keith Kaplan, the Chief
Liquidation Officer of Bedivere Insurance Co. Following that call, Mr. Kaplan sent Mr.
Eisenmann an email that attached the Transfer and Assumption Agreement between OneBeacon
Insurance Company and PGIC dated on or around October 1, 2012 and Form D Prior Notice of a
Transaction filed by OneBeacon on behalf of itself and PGIC, dated July 19, 2012.

SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 5

               See General Responses and Objections infra. and Response to Interrogatory No.
5, supra.

               Subject to the foregoing objections and without waiving them, SPARTA responds
as follows:

               On or around October 18, 2012, OneBeacon announced that it was selling its
runoff business to an affiliate of Armour Group Holdings Limited. Shortly thereafter, George
Estes and Dawne Ware received emails regarding the announcement from financial advisor
Keefe, Bruyette & Woods. On October 19, 2012, Beth Terrell emailed Virginia McCarthy,
Assistant General Counsel and Secretary for OneBeacon Insurance Group, noting that she “read
that OneBeacon is selling off some business,” and asking if that business included the pre-2007
business of AEIC. Ms. McCarthy reported that “nothing changes as a result of last week’s
announcement. We continue to own the entities until close – which is not expected to occur until
at least 2Q 2013. Appropriate transition communications will be forthcoming as time
progresses.” (SPARTA-00066803 to SPARTA-00066805.)

                In May 2013, Ms. Terrell again emailed Ms. McCarthy about the status of that
sale and asked “what is happening to Pennsylvania General Insurance Company, the entity that
assumed all of AEIC’s liabilities, and what is happening to OneBeacon Insurance Company,
from whom SPARTA has a 100% guarantee of Pennsylvania’s obligations?” Ms. McCarthy
informed Ms. Terrell that “the sale of OneBeacon Insurance Company to Armour is pending
Form A review in Pennsylvania. Assuming all regulatory approvals are obtained, we expect to
close in the second half of the year. Pennsylvania General was sold last fall. Pennsylvania
General transferred to and OneBeacon Insurance Company assumed [] all of Pennsylvania
General's liabilities effective October 1, 2012. When the OneBeacon/Armour deal closes, the
Transfer & Assumption Agreement will remain with OneBeacon. This should not have any
impact on Sparta other than new contact information.” (SPARTA-00060362 to SPARTA-


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00060364.)

                Ms. Terrell also asked Ms. McCarthy whether OneBeacon Insurance Company’s
parental guarantee remained intact or would transfer to OneBeacon Insurance Company’s new
parent/affiliate, and for an accounting of unpaid liabilities for AEIC. Ms. McCarthy provided
figures for AEIC gross loss and ALAE case reserves as of April 2013. (SPARTA-00067468 to
SPARTA-00067497.)

               On September 4, 2013, Ms. Terrell emailed Ms. McCarthy asking “can you please
provide a status on the acquisition of OneBeacon?” Ms. McCarthy replied: “As to the
OneBeacon sale, it is still under regulatory review. We expect to close by the end of the year.”
(SPARTA-00025796 to SPARTA-00025797.)

INTERROGATORY NO. 6

              Identify how You became aware of the 2012 acquisition of PGIC by North
American Casualty Co., including the date on which You first learned of the acquisition and
from what source You learned of the acquisition.

RESPONSE TO INTERROGATORY NO. 6

                See General Responses and Objections, Objections to Definitions, and Objections
to Instructions infra. SPARTA further objects to this Interrogatory to the extent that it purports
to seek the production of information that is subject to the attorney-client privilege, the work
product privilege, or any other applicable privilege, or is otherwise immune from discovery
under the Federal Rules of Civil Procedure and/or the Local Rules.

               Subject to the foregoing objections and without waiving them, SPARTA states the
following:
               On May 5, 2021, Stephen Eisenmann spoke with Keith Kaplan, the Chief
Liquidation Officer of Bedivere Insurance Co. Following that call, Mr. Kaplan sent Mr.
Eisenmann an email that attached the Transfer and Assumption Agreement between OneBeacon
Insurance Company and PGIC dated on or around October 1, 2012 and Form D Prior Notice of a
Transaction filed by OneBeacon on behalf of itself and PGIC, dated July 19, 2012.

SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 6

               See General Responses and Objections infra. and Response to Interrogatory No.
6, supra.

               Subject to the foregoing objections and without waiving them, SPARTA
incorporates by reference its responses to Interrogatory No. 5.




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                      GENERAL RESPONSES AND OBJECTIONS

              SPARTA incorporates by reference herein the General Responses and Objections,
General Objections to Definitions and General Objections to Instructions set forth in SPARTA’s
Responses and Objections to Defendant PGIC’s First Set Interrogatories, dated November 28,
2022.



Dated: May 12, 2023                               Respectfully submitted,
       Boston, Massachusetts


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                               CERTIFICATE OF SERVICE

                I hereby certify that on May 12, 2023, the foregoing document was served by
first-class mail, postage prepared and by electronic mail upon:

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                                                   Christopher G. Clark
